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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


STATE OF ILLINOIS,

                         Plaintiff,
                                                         Case No. 1:17-cv-06260
                 v.                                      Honorable Robert M. Dow, Jr.

CITY OF CHICAGO,

                         Defendant.


               JOINT MOTION TO APPROVE PROPOSED CONSENT DECREE

          The State of Illinois (“State”) and the City of Chicago (“City”) (collectively, the

“Parties”), by their attorneys, respectfully request that the Court approve the proposed consent

decree submitted together with this motion (“Proposed Consent Decree”) and enter it as an order

of the Court. In support of this motion, the Parties state as follows:

          1.     On August 29, 2017, the State filed the complaint in this action. Since the filing of

the complaint, the Parties have engaged in extensive negotiations to draft the terms of a consent

decree.

          2.     On July 27, 2018, the Parties jointly released for public review a draft consent

decree requiring significant reforms to the Chicago Police Department (“CPD”). The Parties

solicited and received public comments on the draft through August 17, 2018. Since the

completion of the public comment period, the Parties have met repeatedly to consider the public

feedback received and to make changes to the draft.

          3.     The Parties have now reached final agreement in the form of the Proposed

Consent Decree. The Parties respectfully request that the Court, after providing the public with
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the opportunity to submit written comments, and to address the Court during the public hearings

presently scheduled for October 24 and 25, 2018, approve the Proposed Consent Decree and

enter it as an order of the Court. The Proposed Consent Decree is lawful, fair, reasonable, and

adequate, and it should be approved. See EEOC v. Hiram Walker & Sons, Inc., 768 F.2d 884,

888–89 (7th Cir. 1985); Donovan v. Robbins, 752 F.2d 1170, 1177 (7th Cir. 1985); Isby v. Bayh,

75 F.3d 1191, 1199 (7th Cir. 1996).

       4.     The Parties further request that the Court retain jurisdiction over this action in

accordance with the terms of the Proposed Consent Decree.

       WHEREFORE, the Parties respectfully request that the Court approve the Proposed

Consent Decree and enter it as an order of the Court, retain jurisdiction over this action in

accordance with the terms of the Proposed Consent Decree, and grant such other and further

relief the Court deems necessary for the review and approval of the Proposed Consent Decree.



Dated: September 13, 2018                            Respectfully submitted,

     For Plaintiff State of Illinois:                For Defendant City of Chicago:

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     Attorney General of
     the State of Illinois

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